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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
                                 NEWARK DIVISION


IN RE: PROTON-PUMP INHIBITOR                      MDL No. 2789
PRODUCTS LIABILITY LITIGATION                     Case No.: 2:17-md-2789 (CCC)(MF)
(NO. II)
                                                    SHORT-FORM ANSWER, DEFENSES
This Document Relates to:                                AND JURY DEMAND OF
                                                   ASTRAZENECA PHARMACEUTICALS
Lyone Overlin and Rebecca Overlin, h/w,            LP, ASTRAZENECA LP, AND MERCK
2:18-cv-03695-CCC-MF                                 SHARP & DOHME CORPORATION


       Defendants AstraZeneca Pharmaceuticals LP, AstraZeneca LP, and Merck Sharp &

Dohme Corporation, incorrectly named as Merck & Co., Inc. d/b/a Merck Sharp & Dohme

Corporation (herein collectively referred to as “Defendants”), through undersigned counsel,

hereby appear in the above-referenced action and file this Short-Form Answer to Plaintiffs’

Amended Short Form Complaint and Jury Demand, pursuant to Case Management Order No. 7,

In re: Proton-Pump Inhibitor Products Liability Litigation (No. II), ECF Dkt. No. 112 (1/17/18),

allowing the filing by Defendants of a Short-Form Answer in response to all complaints filed in

or transferred to the above-captioned MDL.

       Defendants incorporate by reference their responses and all applicable defenses set forth

in their respective Master Answer and Defenses to Plaintiffs’ Master Complaint, In re: Proton-

Pump Inhibitor Products Liability Litigation (No. II), ECF Dkt. No. 155 (3/19/18) and ECF Dkt.

No. 193 (4/18/18), including any amendments and supplements thereto. To the extent any

additional response is required, Defendants are without knowledge or information sufficient to

form a belief as to the allegations set forth in Plaintiffs’ Amended Short Form Complaint

regarding Plaintiffs or Plaintiff’s alleged ingestion, and therefore those allegations are denied.

Defendants deny each and every remaining allegation set forth in Plaintiffs’ Amended Short

Form Complaint and further deny that Plaintiffs have been damaged to any extent or amount by
any act or omission of Defendants or are entitled to any damages or other relief from Defendants.
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       This Short-Form Answer is not intended to and shall not waive any applicable defenses

available to Defendants, and Defendants hereby reserve the right to respond to Plaintiffs’

individual complaint by way of any motions permissible under the Federal Rules of Civil

Procedure.     Moreover, Defendants reserve the right to file any necessary counterclaims,

crossclaims and/or third-party complaints, pursuant to Rules 13 and 14 of the Federal Rules of

Civil Procedure, or otherwise amend this pleading, in connection with Plaintiffs’ action, if

appropriate.

       Defendants request a trial by jury on all issues so triable.

       WHEREFORE, Defendants AstraZeneca Pharmaceuticals LP, AstraZeneca LP, and

Merck Sharp & Dohme Corporation, incorrectly named as Merck & Co., Inc. d/b/a Merck Sharp

& Dohme Corporation, pray for judgment in their favor, for the costs of this action and for all

other just and proper relief.

Dated: November 15, 2018

                                              Respectfully Submitted,


                                              MCCARTER & ENGLISH, LLP
                                              Attorneys for AstraZeneca Pharmaceuticals LP,
                                              AstraZeneca LP, and Merck Sharp & Dohme Corporation
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was filed electronically.

Service of this filing will be made on all ECF-registered counsel by operation of the Court’s

electronic filing system.


                                           McCARTER & ENGLISH, LLP
                                           Attorneys for AstraZeneca Pharmaceuticals LP,
                                           AstraZeneca LP, and Merck Sharp & Dohme
                                           Corporation

                                           By:    /s/ Gregory J. Hindy
                                                  Gregory J. Hindy
                                                  A Member of the Firm




                                           Dated: November 15, 2018




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